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                                                             July 14, 2025

Via ECF
Hon. Zahid N. Quraishi
United States District Judge
Clarkson S. Fisher Federal Building &
United States Courthouse
402 East State Street
Trenton, NJ 08608

Re:    Conforti v. Hanlon, Civil Action No. 3:20‑cv‑08267‑ZNQ‑TJB
       Kim v. Hanlon, Civil Action No. 3:24‑cv‑01098‑ZNQ‑TJB

       Request for Oral Argument on Motions for Reconsideration

Dear Judge Quraishi:

        Pursuant to Local Civil Rule 78.1(b), Plaintiffs respectfully request that the Court hear
oral argument on Plaintiffs’ and Defendants’ Motions for Reconsideration (Kim ECF Nos. 324,
325; Conforti ECF Nos. 256, 257), both of which are currently returnable on July 21, 2025.

        We believe that oral argument would aid the Court in addressing the complex and
interrelated legal issues arising in Conforti and Kim. These include the questions of the ability of
Plaintiffs to obtain final relief following a determination that its claims are not moot, the
procedural options for proceeding with the case in light of the New Ballot Design Law, P.L.
2025, c.32, mootness and its exceptions, and the Friends of the Earth doctrine, its progeny, and
its application to these facts. These issues involve nuanced constitutional and statutory
interpretation and interplay with one another and would benefit from elaboration by counsel and
by clarifying questions from the Court.

        I am authorized to state that counsel for Bergen and Hudson Counties both join in this
request.

       If the Court grants this request, I am available to work with Chambers to coordinate all
scheduling with opposing counsel.
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       Thank you for Your Honor’s attention to this matter.



                               Respectfully submitted,



WEISSMAN & MINTZ LLC                                        BROMBERG LAW LLC



       /s/ Brett M. Pugach                                  /s/ Yael Bromberg
       Brett M. Pugach                                      Yael Bromberg




       /s/ Flavio L. Komuves
       Flavio L. Komuves
                                               The parties' request for oral argument is hereby
                                               DENIED. The Motions for Reconsideration will be
cc: All Counsel (via ECF)                      decided on the papers in due course.

                                               So Ordered this 14th day of July 2025.

                                               s/ Zahid N. Quraishi
                                               ZAHID N. QURAISHI
                                               UNITED STATES DISTRICT JUDGE
